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              United States District Court
      _________DISTRICT OF NEW HAMPSHIRE_________

                                United States of America

                                               v.

                                         Ian Freeman

                               CASE NUMBER: 1:21-cr-000041

     DEFENDANT’S OBJECTION TO GOVERNMENT’S RULE 15(a) REQUEST
                      REGARDING MARY HURD

             NOW COMES the Defendant, Ian Freeman, by and through counsel, and objects

to the Government’s Motion To Rule 15(a) Deposition of Mary Hurd. As grounds, the

Defendant states as follows:

       1. The Defendant is charged with money laundering. Mr. Freeman denies that allegation.

           Furthermore, he asserts his right to face is his accuser and demands face to face

           confrontation of all witnesses the government utilizes in its prosecution

       2. Mr. Freeman has never interacted with Mary Hurd to the best of his recollection.

       3. The allegations set forth are not supported by an affidavit from Mary Hurd.

       4. The allegations set forth are not supported by medical records or a qualified

           physician’s opinion letter.

       5. The Exhibit submitted displayed on Page 2 a valid Nevada driver’s license and notes

           there are absolutely no restrictions relative to Ms. Hurd’s Driving Privilege.

       6. Any deposition held remotely would prejudice the Defendant as it would cheat the

           finder of fact by eliminating the jury’s ability to judge the physical demeanor and

           behavior of the witness during the examination.
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        7. Apparently Bank of America, a reputable and highly regulated entity, did not see any

           problem with supplying large financial transfers on behalf of Mary Hurd. (See pages

           5, 18, 20, 21, 24, 26).

   WHEREFORE, The Defendant objects to the Government’s request, demands his 6th

amendment rights and requests an evidentiary hearing on the assertions made by the United

State’s Government.


                                           Respectfully Submitted,


October 26, 2022
________________________________           _/s/ Mark L Sisti_________________________
Date                                       Signature

                                           Mark L. Sisti__________________________
                                           Print Name

                                                     387 Dover Road_____________________
                                           Address

                                                     Chichester, NH 03258______________
                                           City                  State     Zip Code

                                                   (603) 224-4220_____________________
                                           Phone Number



                                     CERTIFICATION

       I hereby certify that a copy of this objection was forwarded to Seth Aframe, Esq. and
Georgiana MacDonald, Esq of the U.S. District Attorney’s Office, electronically through EFC
on October 26, 2022.

October 26, 2022
________________________________           _/s/ Mark L Sisti___________________
Date                                       Signature

                                           Mark L. Sisti______________________
                                           Print Name
